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                CIVIL COURT OF THE CITY OF NEW YORK
                COL.r:NTY OF BRONX: PART 34C

               R.P.\V. SXST£MS,LTD AAO                            ~,,---E                                       -~


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               JI..S]I.fE$J.,DA M. CREARY,
                                         Defendant.

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               Recitation, a5 reCj:.ttred l::y CPLR § 2219(a), of the. papers consick:reC. in -reviewing· tpc .unc}erlying
               Trtol.ion: ·                                                    '"' '''·~':        p_.cj)E~JS'i i"f(f~..r.B.ER.S.:=.l
               No1ice of Motion -and annexed Exhibits and Affid~\·iJs ....... .-... :.: ,.:::..... .... ·.:. :'.:.·.;_'::·.. :.·.. ·..... :-. .1


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                  ···:·-- 11H~ default judgement is hereby •·acated ancf the action is -dismissed:i}l:it.fi__prcjudice . .fu:y .· ·
                 J iens, levies, restraints or executions jssues by Plaintiff c.gainsl any ..property :o.:__b?Jil.:.. qcc;:ou_r)ts. of
       · :· . ·_ the defendant sbali be vacated ..tilly funds, including fees,: ::n rhe.' pnssess_f'ori ;o.f .rh.e,rr~:J,iJ.1Jj:f" (::!iy. .· ~ ·          .   . ..


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